
PER CURIAM.
ORDER
Pursuant to the rule-making power vested and inherent in this Court relating to the affairs of its internal government, as distinguished from rules adopted by the Supreme Court governing the practice and procedure in all courts, the following rule is hereby approved and adopted:
The Clerk of this Court shall file and docket each certified copy of notice of appeal from an order entered on a motion for relief under the provisions of Criminal Procedure Rule No. 1, 31 F.S.A. without the payment of any fee or costs, in like manner and to the same extent as in habeas corpus proceedings or appeals therefrom, arising out of, or in connection with criminal causes or convictions as is now provided in Florida A-ppellate Rule 2.2b (6), 31 F.S.A.
No clerk of any trial court in this district, from which an appeal may be taken to this Court from an order entered on a motion for relief under Criminal Procedure Rule No. 1, 31 F.S.A. shall require the payment of any fee or any costs upon the filing of any such notice of appeal, irrespective of whether or not the appellant has been adjudged insolvent; but he shall file any such notice of appeal in the cause from which the appeal is taken and transmit a certified copy thereof to the Clerk of this Court with advice that, in accordance with this rule, no filing fee was deposited.
This rule shall become effective immediately upon the filing of this Order.
It is so ordered.
BARKDULL, C. J„ and CARROLL, HORTON, TILLMAN PEARSON, and HENDRY, JJ„ concur.
